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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
RICHARD W. GATES III,                           )            Crim. No. 17-201-2 (ABJ)
                                                )
               Defendant.                       )

      DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
                  CONDITIONS FOR LIMITED PURPOSES
               TO FACILITATE MEETINGS WITH COUNSEL

       Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes to permit him to meet with his attorneys in the

District of Columbia over multiple days. This will allow Mr. Gates to prepare his defense

without being hampered by unduly burdensome travel conditions.

       Under Mr. Gates’s current release conditions, he is permitted to meet with counsel. 1 Mr.

Gates’s attorneys are located in New York City (Mr. Mack and Ms. McAvoy) and the District of

Columbia (Mr. Wu), which poses certain logistical issues. The immediate concern is that the

Order setting release conditions does not specify whether Mr. Gates is able to stay overnight for

multi-day meetings with counsel. As such, counsel asked both Pre-Trial Services in Richmond,

Virginia and the District of Columbia whether overnight stays to meet with counsel are

permissible under the current bail conditions; the former advised that they would permit Mr.

Gates overnight stays when meeting with counsel on multiple days while the latter stated that




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  See Order setting release conditions, Docket No. 10, Section 4(b) (“Defendant will be allowed
to meet with counsel.”).
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they could not approve an overnight stay absent a court order as a result of different rules

governing pre-trial services for the District of Columbia.

       In order to prepare his defense, Mr. Gates’s attorneys require the ability to meet with Mr.

Gates over multiple days, which would require Mr. Gates to stay the night given the distance

between his residence in Richmond and the District of Columbia (over 100 miles), which is

widely known as one of the top traffic-congested areas in America.

       For these reasons, Mr. Gates requests that his release conditions be modified to permit

him to stay overnight in the District of Columbia area for any multi-day meetings with counsel,

provided that he notifies and obtains advance approval from Pre-Trial Services.

       If the Court grants this motion, Mr. Gates will continue to provide Pre-Trial Services with

information on the date, time, and location of the meetings, as well as information on his

overnight accommodations.

       The position of the United States could not be ascertained as to this motion but Mr. Gates

submits that the United States will not be prejudiced by the granting of this motion.




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       WHEREFORE, Mr. Gates hereby respectfully moves this Court to modify his release

conditions as specified above.

                                         Respectfully submitted,


                                         _/s/Shanlon Wu_______________
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